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J ames E. Holland, Jr. (021826)
Javier Torres (032397)

 

 

STINSON LEONARD STREET LLP
1850 North Central Avenue, Suite 2100
Phoenix, AriZona 85004-45 84
Tel: (602) 279-1600
Fax: (602) 240-6925
Email: @mes.holland@stinson.com

`@vier.torres@stinson.com
Attomeys for HKBInc., dba Southwest Industrial Rigging

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA
HKB, INC., an AriZona corporation, No. 2: l6-cv-03 799
doing business as SOUTHWEST
INDUSTRIAL RIGGING, DECLARATION OF JAMES DOUGLAS
. . WILSON
Plalntlffs,

V.

BOARD OF TRUSTEES FOR THE
SOUTHWEST CARPENTER’S
SOUTHWEST TRUST;
CARPENTERS SOUTHWEST
ADMINISTRATIVE CORP.,

Defendants.

 

 

 

l, James Douglas Wilson, declare as follows:

l. I am the Chief Financial Ofl'icer of HKB, Inc. I submit this declaration for
the sole purpose of supporting Southwest’s motion to dismiss this lawsuit based upon
forum non conveniens.

2. HKB, lnc. is an AriZona corporation doing business in AriZona as
Southwest Industrial Rigging (“Southwest”), with its principal place of business at 2802
W. Palm Ln., Phoenix, AZ 85009.

3. Southwest performs construction-related maintenance and repair work at

the Palo Verde Nuclear Generating Station just west of Phoenix (the “Power Plant”)

twice a year for 4-6 weeks at a time.

CORE/3008422.0002/130546549,l

 

 

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4. Southwest had previously used carpenters provided by the Construction
Union to supplement its workforce for the maintenance and repair work at the Power
Plant, but Southwest had never been required to sign a long-term union contract.

5. Southwest simply employed the individual Construction Union members
on a piecemeal basis, paying the carpenters (and the Funds) for the work actually
performed, but having no obligation beyond the temporary work provided at the Power
Plant.

6. In mid-2013, Tom Allen, a salesman for Southwest, told his supervisors at
Southwest that the Construction Union gave him a document titled “Southwest Regional
Council of Carpenters - Carpenters Memorandum Agreement 2012-2016” (the
“Memorandum”), which the Construction Union wanted Allen to sign on Southwest’s
behalf.

7. Because Tom Allen had no experience with such documents, had no
authority to sign such documents, and had never seen such documents, Allen asked his
supervisors for direction.

8. Allen’s supervisors told him he did not have authority to enter such
contracts, and indeed Southwest would not agree to the Memorandum.`

9. Southwest could not evaluate the issue further because the Memorandum
referenced several other documents that Southwest had never seen and did not have

access to.

10. In one version of the Memorandum signed by Allen, Allen identified
himself as a salesman: Ml£m__§§&£a.

ll. In another version of the Memorandum signed by Allen, Allen identified
himself as a “local rep” lw;l§\§;__;_\.§§_§i*£l\

l2. “Local Rep” is not a title Southwest uses or recognizes

CORE/3008422.0002/ 130546549.1

 

 

 

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l3. Subsequent to Allen’s signing of the Memorandum, and still unaware that
Allen had signed the Memorandum, Southwest reiterated to Allen that he did not have
authority to bind Plaintiff by signing such contracts on Plaintiff’s behalf.

14. Consistent with past practices, Southwest paid for all services rendered by
the union carpenters, including paying the plaintiff Funds.

15. On information and belief, Southwest’s employees are not Construction
Union members and do not receive Construction Union benefits

16. The Funds’ demand by itself actually exceeds the value of all services
ever provided by the union carpenters for that time period.

l7. During the time that Southwest used carpenters provided by the
Construction Union, neither the Construction Union nor the Funds ever brought to
Southwest’s attention any expectation that Southwest was liable for any of the payments
that Funds ultimately demanded as a result of the “audits.”

18. After the Funds made their demand for additional money, Southwest
immediately stopped hiring the union carpenters

19. On information and belief: Southwest never knew that the union purported
to offer a “benefit plan” for company managers; Southwest never knew that the
managers would be deemed to be eligible for such benefits; and Southwest did not want
the purported benefit plan.

20. l never received the benefits of any Construction Union benefit plan; l
never knew l was deemed eligible to receive such benefits; and l never knew such

benefits existed.

21. On information and belief, Southwest’s managers; never received the
benefits of any Construction Union benefit plan; never knew they were deemed eligible
to receive such benefits; and never knew such benefits existed.

22. Southwest’s principal place of business is in Phoenix, and Southwest has

no offices, facilities, or personnel in California.

CORE/3008422.0002/ 130546549.1

 

 

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23. Southwest works in the construction industry and has a construction
license, but it is only licensed in AriZona, not California.

24. Southwest does not own or lease any property in California.

25. Southwest has no staff in California.

26. Southwest does not have a Califomia bank account, mailing address, post
office box, statutory agent, or telephone number, nor does it advertise or otherwise
solicit work in California. Southwest has never been party to a lawsuit in California.

27. Southwest works almost exclusively in Arizona.

28. Southwest has four office locations, all of which are in Arizona: two in
Phoenix, one in Flagstaff, and one in Tucson.

29. I work and reside in Arizona.

30. Upon information and belief, Messrs. Harry Kent Baker (“Baker”) and
Scott William Miller (“Miller”) work and reside in Arizona.

3 l. l do not own any property in California.

32. Upon information and belief, Messrs. Baker and Miller do not own any
property in California.

33. I do not have a Califomia phone number, address or other contact
information

34. Upon information and belief, Messrs. Baker and Miller do not have a
Califomia phone number, address or other contact information

35. I have no contact with or affiliation with any lawyers, litigants, or
witnesses in California.

36. Upon information and belief, Messrs. Baker and Miller have no contact
with or affiliation with any lawyers, litigants, or witnesses in California.

37. I have never been party to a lawsuit in California.

38. Upon information and belief, Messrs. Baker and Miller have never been

party to a lawsuit in California.

CORE/3008422.0002/ 130546549.1

 

 

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39. On information and belief, Tom Allen resides in the Phoenix area.

40. On information and belief, all of Southwest’s anticipated party witnesses
reside in the Phoenix area: Harry Baker, Owner and President; Mike Madge, V.P. of
Operations; James Wilson, CFO; Scott William Miller, Officer; Michael Allen, Aaron
Blaha, Thomas Brennan, Ryan Bryant, Daniel Estrada, Gary Goss, Harry Heiden,
Robert Jacobi, Tracey Lay, Sam Melendez, Scott Nelson, Gregory Rasko, Robert
Shearer, Brad.ley Bryan, Peter Francis, Curtis Howe, Lemanuel Jim, Paul Sewell,
Southwest employees identified by Plaintiff’s audit.

41. On information and belief, eight of the twenty-four union members
provided to Southwest by the Construction Union reside in AriZona.

42. On information and belief, at the time he signed the Memorandum, Tom
Allen was a Southwest employee living in Arizona who did not travel to Califomia to
negotiate or sign the Memorandum.

43. Southwest has never engaged the Construction Union to perform any
work in California.

44. To the extent possible, Southwest avoids doing business in California due
to increased employment and environmental regulations.

45. Only a small fraction of Southwest’s heavy equipment could satisfy
California’s more stringent environmental regulations.

46. Southwest never sought out Califomia workers from the Construction
Union _the union merely provided workers to Southwest based on availability.

47. Attached as Exhibit A is a true and correct copy of a letter dated June 4,
2015, which Southwest received from Carpenters Southwest Administrative
Corporation.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge

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EXI:,(,,[,;TED this ____ day orMaz~'ch, 2016 m \ Ha@ \ § . Anzona‘

James If)ouglas Wilson

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EXHIBIT §§

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Carpenters Southwest Administrative Corporation.

mm OFmE: 533 S Ft¢|lmtAvu.'Loe Ange|es, CA WO71-17M *Te|.‘ (213) 386~&590 'Tol Ftee (m) 85-1370
W**.CII'P'|“'I'II*.°I'§

'June 4, 2015

CERTIFIED MAIL
701 5~0640-0006-6056-2101

Southwest Industriai Rigging
2802 West Palm Lane
Phoenix, AZ 85009

Dear Contributing Employer:

On several occasions over the last week, we have attempted to contact you for the
purpose of requesting additional records to complete the audit review. Such audits are
conducted pursuant to Article I, Paragraph 118 of the Carpenters’ Southem Califomia
Master Labor Agreement.

List of documents to complete the audits

l) List of all jobs from 09/2013 - 12/31/2014 4) Payroll journals on all jobs
2) Check register from 09/2013 - 1,2/31/2014 5) Copies of W2’s
3) Arizona State quarterly’s _

Since we have been unable to reach the contact person, please contact this office no later
than five business days from receipt of this letter for the purpose of establishing a
mutually convenient date, to provide the documents for the audit.

We request your cooperation. Failure to respond will result in this matter being referred
to the Trust Funds’ attomey.

 

cc: Audit File

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SOUTHWEST REG|ONAL COUNC|L OF CARPENTERS
CARPENTER$ MEMORANDUM AGREEMENT
2012-2016

lt is agreed between the undersigned ("Contractor') and the Southwest Regionai

Councii of Carpenters, United Brotherhood of Carpenters and Joiners of Amerlca and its ~
affiliated local unions in the 12 Southem Califomia Counties. nameiy, Los Angeies, Orange,
San Diego, San Bemardino, Riverside, imperia|, Ventura, Santa Barbara, San Luis Obispo,
Kem,'inyo and Mono. and the States of Nevada, An'zona, Utah, New Mexico (and parts of
West Texas) and Coiorado ('Carpenters' Union"). in consideration of services performed

and to be perfode by Carpenters for the Contractor, as follows:

1. The Contractor agrees to cornply with ali the tenns. including wages, hours,
and working conditions and rules as set forth in the Agreement referred to as the Southem
Califomia Carpenters Master Labor Agreement between United Generai Contractors
Association. inc. (hereinafter the "Association") and the Southwest Regionai Councii of
Carpenters and its affiliated Locei Unions, United Brotherhood of Carpenters and Joiners
of America, dated Juiy 1 , 2012l as weil as the appropriate Master Agreements covering the
States of Nevada, Ar|zona. Utah, New Mexico and West Texas, and Arizona, and any
extensions, renewals or subsequent Master Labor Agreements, and the Agreements
establishing: (1) the Southwest Carpenters Pension Trust, dated September14, 1959; (2)
the Southwest Carpenters Heaith & We|fare Trust, dated February 8, 1955; (3) the

~ Southwest Carpenters Training Fund, dated May 1, 1960; (4) the Southwest Carpenters
Vacation Trust, dated Aprii 1 , 1962; (5) the Contract Adminlstration Trust Fund for
Carpenters-Management Reiations, dated October 1, 1986; (6) the Construct|on industry
Coope`ration Committee, dated October 1, 1986; (7) the Acousticai industry Advancement
Fund; (8,)’ the Carpenters industry Advancement Fund of Southern California. dated
September19, 1972; and (9) the independent Contractors Grievance and Arbitration Trust,
dated September 1, 1980; (10) the Southem Nevada Carpenters Annuity Fund; (hereafter
collectively referred to as the 'Carpenters Trust Funds') and any amendments,'
modifications extensions and renewals of such Agreements and the Trust Ageements and
any agreements establishing other benefits or plans negotiated by the Carpenters' Unions
and the Contractor Assocr'ation signatory to such Master Labor Agreement Except as
specifically excluded by this Memorandum Agreement. such Master Laborlwreemenis and

Trust Agreements are specifically incorporated by reference and made a part of this
Memorandum Agreement .

2. The Contractor agrees to pay the Carpenters Trust Funds the sums in the
amounts and manner provided for in the Master LaborAgreement and further agrees to be

' bound by the Trust Agreements and all amendments modifications extensions and
renewals thereto. The Contractor agrees to make a contribution to the Carpenters'
intemationai Training Fund and to the UBC Labor Management Education and
Deveiopment Fund, as alocated by the Union from negotiated wage increases These

_ contributions may be collected with the existing contributions to the Carpenters Hea|lh &
Weifare _Trust, the Carpenters Apprenticeship Trust andlor the Carpenters Contractors

1

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Cooperation Committee, or other Carpenter funds. as allocated by the Union. The
Empioyer agrees to be bound to the Agreements and Deciarations of Trust for the
international Funds as they exist and as they may be amended or restated, and to such
rules and regulations as adopted by the Trusts. upon request the employer may receive

the latest annual report prepared for the Funds.

3. The Contracth agrees that he does irrevocably designate and appoint the
Empioyers mentioned ln the Agreements establishing the various Carpenters Trust Funds

_ along with representatives designated by the United Generai Contractors, inc. and the
Residential Contractors Associatlon as his attomey~in-fact, for the selection, removal and
substitution of Trustees or Directors as provided by or pursuant to the Master Labor

Agreement and Trust Agreements and By-i.aws.

4. The parties agree that the provisions of paragraphs 114 and 115 and 601 .6
and the provisions relating to Existlng and Other Agreements (Artlcie Xil) of the Master
Labor Agreement will be excluded from this Memorandum Agreement and will not be

binding upon the Contractor or the Carpenters' Unions.

5. There has been established under this Agreement and the Master Labor
Agreement, an independent Contractors Grievance and Arbitration Trust, The Contracth
and the Carpenters Union agree to submit ali disputes, including jurisdictional disputes,
concerning the interpretation or application of this Agreement and the Master Labor
Agreement to arbitration under this Sectlon 5, and the Contractorand the Carpenters Union
agree that during the pendency of the grievance and arbitration procedure, the Carpentere'
Unions will not strike or withdraw services and the Contractor will not engage in a lockout;
provided. however, the Carpenters Union shall have the right to engage in a strike or
withdrawal of services and the Contractor may engage in a lockout on a claimed violation
of this Agreement or the Master Labor _Agreement relating to the payment of wagesl or 4
contributions to any Trust Fund referred to in this Agreement or failure to comply with a final
and binding arbitration award.. except as to any provision or arbitration award on

~ subcontracting

6. The Contractor agrees that in the event the Contractor contracts or
subcontracts any carpenter work, and in the event that such subcontractor falls to pay the
wages or the fringe benefits provided under the Agreements between the subcontractor
and the Carpenters’ Unions. then the Contracth will become liable forthe payment of such '
sums incurred by the subcontractor. and such sums will immediately become due and
payable by the Contractor. Such payments will be measured by the hours worked or paid
for by the employees of the subcontractor. The Trustees of the Trust Funds referred to ln
the Master Labor Agreement and this Memorandum Agreement are expressly made third
party beneficiaries of the Contractors' promise to make such payments. The Trustees of
the Trust Fund referred to in the Master Labor Agreeth and this Memorandum
Agreement, will have the right to require any Contracth that ls a party to this Memorandum
Agreement, to post a cash or surety bond in an amount sufficientto safeguard the payment
of Trust Fund Contrlbutions that are required to be paid to the Tmst Funds in accordance

with the Master Labor Agreement

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7. Except as specifically excluded by this Memorandum Agreement, the
Carpenters Union and the Contractor agree to abide by ali the terms and conditions of the
Master Labor Agreement(s) and Trust Agreements and any amendments, modifications
changes, extensions and renewais, including changes in wages. benefits, term, coverage,

geographic scope or any other changes to such agreements
8. Preservation of Unlt Work:

(a) in order to protect and preserve, for the employees covered by this

Agreement, all work heretofore performed by ihem, and in order to prevent any device or
subterfuge to avoid the protection and preservation of such work, lt is hereby agreed as
foilows: if and when the Contractor perfomis any on-slte construction work of the type
covered by this Agreement, under its own name or under the name of another, as a
corporation. company, partnership. or any other business entity. including a joint venture,
wherein the Contractor (lncludlng its officers, directorsl owners. partners or stockholders)
exercises either directly or indirectly (such as through family members) ownershlp,
` management or controi, the terms and conditions of this Agreement will be applicable to

ali such work,

(b) A|l charges of violations of Subsection (a) of this paragraph. will be
considered as a dispute under this Agreement and will be processed in accordance with
the procedures for the handling of grievances and the final binding resoiution of dlsputes,
as provided in this Agreement. As a remedy for violations of this paragraph the arbitrator
is empowered at the request of the Carpenters Union, to require an employer to (1) pay to
affected employees covered by this Agreement, including registered applicants for
employment the equivalent of wages lost by such employees as a result of the violations,
and (2) pay into the affected joint trust funds established under this Agreement any
delinquent contributions to such funds which have resulted from the violations Pnovlslons
for this remedy does not make such remedy the exclusive remedy available to the
Carpenters Union for violations of this paragraph; nor does it make the same of other

remedies unavailable to the Carpenters Union for violation of this paragraph.

(c) lf, as a result of violations of this paragraph 8, lt is necessary for the
Carpenters Union and/or the trustees of the joint trust funds to institute court action to
enforce an award rendered in accordance with subsection (b), or to defend an action which
seeks to vacate such award, the Contractcr will pay any accotmtants' and attomeys‘ fees
incurred by the Carpenters Union and/or fund trustees, plus cost of the litigation, which

. have resulted from the bringing of such court action.

(d) if this paragraph 8 is declared to be unlawfui, the parties will negotiate

similar language that will give the Carpenters Union equivalent protection

9. The Contractorand the Carpenters Union expressly acknowledge that on the
Contractor’s current jobsite work, the Carpenters Union has the support of a majority of the

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employees performing work covered by this Agreement, The Union has demanded and
the Contractor has recognized the Carpenters Union as the majority representative of its
employees performing work covered by this Agreement it is also acknowledged that the
Union has provided, or has offered to provide, evidence of its status as the majority
` representative of the Contractor‘s empioyees. By this acknowledgment the parties intend
to and are establishing a collective bargaining relationship under Section 9 of the National
Labor Reiations Act of 1947, as amended. The bargaining unit established by this
Agreement and the Master LaborAgreement is accepted by the parties as an appropriate

unit for collective bargaining purposes

10. Each individual Empioyer signatory hereto specifically waives any right that
he or it may have to terminate, abrogate, repudiate or cancel this Agreement during its term
or during the term of any future modifications changes, amendmentsl supplements,
extensions, or renewals of or to said Master Labor Agreement, or to file any petition before
the National Labor Reiations Board seeking to accomplish such termination, abrogation,
cancellation or repudiation or to file a petition seeking ciarincation or redefinition of the

bargaining unit covered by this Agreement.

11. Notwlthstandlng any provision of the Master Labor Agreement or this
Agreement, the individual employer agrees that upon a showing by the Union or any of its
affiliates a majority of the individual employers shop empioyees, if any, have designated
the Union and/or any of its affiliates as their representative for collective bargaining
purposes, the individual employer shall recognize the Union and/or its affiliates as the
collective bargaining representative of its shop employees and shall forthwith comply with
ali wages, hours. terms and conditions of the then current Store Fixture Agmement for the

- term thereof. Proof of such majority representation shall be establshed bythe submission
of authorization cards to a neutral third person who shaii.compare the signatures with
appropriate employer records. The individual employer shall fully cooperate in such review

upon demand by the Union or any of its aflillates.

12. The Contractor agrees that in the event it performs any work within the
jurisdiction of the United Brotherhood of Carpenters in the geographical jurisdiction of the
Southwestem Regionai Councll of Carpenters (aithough subject to change it is currently
the States of Nevada, An°zona, Utah, New Mexico (and parts ofWest Texas). Colorado and
12 Southem Califomia Coun iies) the Contracth shall perform all such work pursuant to the
appropriate Carpenters Master Agreement for that area, including but not limited to the

hiring hall and subcontracting requirements contained in said Agreements.

13. Thls Memorandum Agreement shall remain in full force and effect for the
period of the term of the Carpenters Master Labor Agreement between United Generai
Contractors Association, lnc. (hereinafter the 'Association') and the Southwest Regionai
Councll of Carpenters, United Brotherhood of Carpenters and Jolners of Americe, dated
July 1, 2012, and for the term of any successor Master Labor Agreement(s) and does
hereby authorize the Assoclation to represent the Contractor. unless either partyshail give

written notice by registered or certified mail to the other of desire to arrange or` cancel this

4

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Memorandum Agreement at least sixty(60) days, but no earlier than ninety (90) days, prior
to June 30, 2016, or if such notice is not given, than at least sixty (60) days, but no earlier
than ninety (90) days prior to the termination date of a successor Master Labor Agreement.
Aii notices given by the Carpenters Union to the signatory Contractor Association to the
Master Labor Agreement shall constitute sufficient notice to the Contractor by the
Carpenters' Unions; provided, however, that a notice to the ContractorAssociatlon byeither
party shall not constitute sufficient notice of such intent not to be bound by a new
Agreement or renewal orextension of the Master LaborAgreement and TrustAgreements.

Dated B" l§;ll

CONTRACTOR:

WHMLW

Firm Name (Prinr Exacriy as used with statemch Board) state License No.

 

"_ itt
BY: \e:m.. g ida
(Slgnature of Contractor) ' (Print name and title of person signing)
lioa\n€a§mlgm hamm 953 ggg§g
Address Clty. State, le
LliQ 8 rw _.______900
Phone Number Fax Number e-mail address No. of Empioyees

Speciflc type of work you perform with your OWN work force:

  

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SSS\)~\ \ §.\..
Generai Contracth Subconiractor Both

SOUTHWEST REGloNAL COUNC|L OF CARPENTERS
MlKE McCARRON, Executive Secretary

BY:
Signature of Authorized Union Represeniative Prlnt Name and Lecai Ne.

main
@17-2012

 

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ARIZQNA M|LLWRlGHTS

EFFECT|VE SEPTEMBER 1, 2012
BENEF|TS:
Pension $3.66
Heaith & Weifare 5.45
Vacation!Supplementai Dues 4.53 (Vacation $3.38; dues $1.17)
Annuity 2.00
M'e:niiceshlp .gg* (lncludes Drug Test|ng and industry Fund)
Total to Carpenters Trusts $1635
AMEAP .25 (paid directly to AMEA)
Total Beneflt Contrlbutions $16.'6`$

Pension, Vacation and Annuity contributions are subject to the applicable overtime rates.

 

NOTE: The vacation and supplemental dues contributions are to be added to the
employee's wages, taxed and withheld and submitted to the Trust Funds.

The Apprenticeship contribution of $0.68 includes Apprenficeship ($0.53 and
contributions to the Niiliwright Cooperation Committee -"Drug Testlng' ($ .10) and the
UBC Miliwrights Labor-Management industry Promotion Fund ($0.0 )

Per Diem at the rate of $45.00 per day will be will be paid to ali employees on any job
which is 51 miles or more from the City Hall of Phoenix, 200 W. Washingtcn Si. P oenix,

Arizona 85003 to the center of the jobsite.
_ Wage Re-openers September 1" of 2013, 2014, 2015 and 2016

